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  ORIGINAL
Approved :
               f!l:2_.
             Pete r J . Davi s / Lara Pomerantz
             Assistant United States Attorneys

Before :     THE HONORABLE ONA T . WANG
             United States Magistrate Judg
             Southern District of New York
                                               2 MflA•G _ 2 7 3 2
                                                     •               v




------------------------------------x
                                               SEALED COMPLAINT
UNIT ED STATES OF AMERICA
                                               Violations of 18 U. S . C.
                   - v. -                      §§ 371 , 875 (c) , and 2

 DONNELL RUSSELL ,                             COUNTY OF OFFENSE :
                                               NEW YORK
                     Defendant .

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SOUTHERN DISTRICT OF NEW YORK , ss .:

          Kerry C . Calnan , Special Agent , Federal              Bureau    of
Investigation , being duly sworn , charges as follows :

                                   COUNT ONE

           (Conspiracy to Threaten Physical Harm by Interstate
                             Communication)

           1.  On or about December 4 , 2 018, in the Southern
District of New York and e l sewhere , DONNELL RUSSELL , the defendant ,
and others known and unknown , willfully and knowingly did combine ,
conspire , confederate , and agree together and with each other to
commit an offense against the United States , to wit , threatening
physical harm by interstate communication in violation of Title
18 , United States Code , Section 875(c) .

           2.   It was a part and object of the conspiracy that
DONNELL RUSSELL , the defendant , and others known and unknown ,
placed an interstate telephone call to threaten physical harm to
those attending a December 4 , 2018 screening of "Surviving R .
Kelly " at a venue in New York , New York called NeueHouse Madison
Square (" NeueHouse " ) , in violation of Title 18 , United States Code ,
Section 875(c) .
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                                  Overt Acts

          3.   In furtherance of the conspiracy and to effect the
illegal object thereof , the following overt acts , among others ,
were committed in the Southern District of New York and elsewhere :

             a.      On or about December 4 , 2018 , RUSSELL placed
an interstate telephone call to NeueHouse threatening physical
harm to those at the theater and attending the December 4 , 2018
screening of " Surviving R. Kelly ."

              b.     On  or    about  December   4,  2018 , RUSSELL
attempted to block h is phone number and placed a phone call from
his cellphone to a New York City Police Department ( "NYPD" )
precinct l ocated in New York , New York and in the vicinity of the
theater set to screen "Surviving R . Kelly ."

             (Title 18 , United States Code , Section 371 . )

                             COUNT TWO
      (Threatening Physical Harm by Interstate Communication)

           4.  On or about December 4 , 2018 , in the Southern
District of New York and elsewhere , DONNELL RUSSELL , the defendant ,
unlawfully ,  knowingly   and   intentionally ,   did    transmit  in
interstate and foreign commerce a communication containing a
threat to injure the person of another , to wit , RUSSELL placed an
interstate telephone call to NeueHouse in New York , New York
threatening physical harm to those attending the December 4 , 2018
screening of " Surviving R . Kelly " at NeueHouse , and aided and
abetted the same .

       (Title 18 , United States Code , Sections 875(c) and 2 . )

           The bases for my knowledge and the foregoing            charges
are , in part , as follows :

             5.      I am a Special Agent with the Federal Bureau of
Investigation       (" FBI " ) .  During my tenure as a Special Agent with
the    FBI ,    I    have      conducted  and participated    in   numerous
investigations       of criminal activity , including , but not limited
to , threats i n    v i olation of Title 18 , United States Code , Sections
875 and 2 .




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                               Overview

           6.    Since in or about January 2019 , law enforcement has
been investigating the involvement of DONNELL RUSSELL ,           the
defendant , and then - manager for music recording artist Robert
Sylvester Kelly , better known as "R . Kelly," in a coordinated
effort , including through the use of threats of violence , to
prevent the screening i n December 2018 of a multi - part documentary
or " docuseries " entitled " Surviving R . Kelly " at NeueHouse , a
theater in New York , New York (the "Screening") .     The docuseries
explores allegations that R . Kelly engaged in abusive sexual
relationships with minor females and adult women .

            7.   Specifically , and as detailed below , throughout the
day of the Screening , DONNELL RUSSELL , the defendant , who was at
and around his residence in Chicago , Illinois , worked with , among
others , another individual associated with R . Kelly (" CC-1 " ) who
was in New York the day of the Screening , to draft correspondence
to an executive at the Lifetime television channel discouraging
the executive from airing the docuseries .      Additionally , RUSSELL
admitted that he sent NeueHouse a "cease and desist " letter to
stop the Screening from going forward . When that failed to stop
the Screening , RUSSELL , using two different cellphones under his
control , attempted to contact various law enforcement agencies in
and around the theater , seemingly in a further effort to disrupt
the Screening . Finally , RUSSELL contacted NeueHouse directly , via
a landline associated wi th his home address , to threaten that there
was a person in the theater with a gun prepared to shoot up the
Screening (the "Threat Call " ) . At and around the time the Threat
Call was placed , RUSSELL texted CC - 1 that the "[t]he cops
maybe [sic] coming soon ."    After receiving the Threat Call , the
NeueHouse employee called 911 . NeueHouse cancelled the Screening
and evacuated the theater .     Moreover , to conceal his involvement
in the scheme , RUSSELL directed CC - 1 to delete his text message to
CC - 1 regarding the police arriving at NeueHouse .

                       Re l evant Phone Numbers

          8.   Based on my part i cipation in this investigation ,
including my review of phone records and search warrant returns ,
I have learned the following , among other things :

               a.      DONNELL RUSSELL , the defendant , is the primary
user of a cellphone assigned a call number ending in 5608 (the
" Russell Cellphone " ) and a cellphone assigned a call number ending




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in 3030 ( the " IndyBuild Corp Cellphone " ) . 1 RUSSELL is also the
account holder listed on a landline phone associated with RUSSELL ' s
home address in Chicago , Illinois (the " Russell Landline " ) . 2

              b.     CC - 1 is the primary user of two cellphones,
one assigned a call number ending in 8553 ("CC - 1 Cellphone - 1" ) and
one assigned a call number ending in 5 659 ( " CC- 1 Cellphone - 2 ;
collectively , the "CC-1 Cellphones " ) .

                      The Day of the Screening

             9.     Based on publicly available sources , interv iews
with , among others , an employee of NeueHouse , and my review of
documents obtained from NeueHouse , I have learned that on or about
December 4 , 2018 , NeueHouse, in collaboration with the Lifetime
televisi o n channel , was scheduled to host the premiere screening
of " Surviving R. Kelly ." The docuseries explores allegations that
R . Kelly engaged in unlawful sexual activity with numer o us minor
women and engaged in sexually , physically , and emotionally abusive
relationships with several adult women .       Guests t o the Screening
were expected to arrive at NeueHouse at approximately 6 : 30 p . m. on
December 4 , the Screening was to occur from approximately 7 : 00
p.m . to 8 : 30 p . m., with a panel discussion about the docuseries to
be held following the Screening .        The participants in the panel
discussion were to include certain alleged victims of R . Kell y who


1 Based on my review of phone records , I have learned that while
RUSSELL is believed to be the primary user of both phones , there
have been instances where the Russell Cellphone is in communi c ation
with the IndyBuild Corp Cellphone . However , the IndyBuild Corp
Cellphone and the Russell Cellphone do not appear to communicate
with each other on December 4 , 2018 , i.e., the date of the Threat
Call , and instead, as detailed herein , RUSSELL appears t o have
used both phones in furtherance of the scheme alleged herein.

Based on my review of phone records , I have learned that the
Russell Cellphone is subscribed to in the name of "IndyBuild Corp ,"
a company that is run by RUSSELL .   Similarly , the IndyBuild Corp
Cellphone is subscribed to in the name " INDYBUILD CORP ."
Additionally , the Russell Cellphone was seized from RUSSELL in or
about July 2019 , pursuant to a judicially authorized search
warrant .
2 Based on my participation in the investigation , including my
review of phone records , I have learned, in substance and in part ,
that the " Can Be Reached " ( or "CBR") number for the Russell
Landline account is the IndyBuild Corp Cellphone .
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appear in the docuseries .

             10 . Based on my participation in the investigation ,
i nclud i ng my review of phone records , cell site records for the
CC - 1 Cellphones , a witness interview , and my review of search
warrant returns , I have learned that CC- 1 and a relative of CC - 1
were in New York the day of the Screening .

                Cease and Desist Email to NeueHouse

           11 . Based on my participation in the investigation ,
including my review of phone records , interviews with , among
others , an employee of NeueHouse , and my review of documents
obtained from NeueHouse ,   I  have learned of the following
communications on or about December 4 , 2018 , in substance and in
part :

                 a.     From approximately 9 : 12 a . m. to approximately
2 : 47 p . m., DONNELL RUSSELL , the defendant , and CC - 1 communicated
repeatedly using the Russell Cellphone , the Russell Landline , ee-
l Cellphone - 1 , and by email .    In substance and in part , RUSSELL
and CC - 1 discussed sending an email to an executive for original
programing at Lifetime . The draft email expressed " concerns .
regarding your upcoming Surviving R . Kelly production ." The email
further stated , in substance and in part , "By now , I ' m certain you
and your production team have met the acquaintance of the alleged
survivors , and had ample time to witness the character of each
woman and/or parent individually. "

                 .b .    From approximately 6 : 16 p.m . to approximately
7 : 06 p . m., RUSSELL , who was at and near his residence in Chicago
at the time , called the number for the NeueHouse reception desk ,
which is available on the internet , using the Russell Cellphone
and the IndyBuild Corp Cellphone .      For example , at approximately
6 : 18 p . m. , the IndyBuild Corp Cellphone called NeueHouse .     That
call lasted approximately six minutes and 38 seconds .

                c.      Based on an interview of an individual working
for NeueHouse (" Employee - 1 " ) on the evening of December 4 , 2018,
I am aware that Employee - 1 answered a phone call at NeueHouse from
the IndyBuild Corp Cellphone at approximately the time detailed in
sub - paragraph (b) , above .    On that call , a person claiming to
represent R . Kelly informed Employee-1 that he intended to serve
a cease and desist letter on NeueHouse to prevent the screening of
" Surviving R . Kelly ." The caller stated , in substance and in part ,
that the caller was a representative of R . Kelly and that NeueHouse
was to cease and desist in its screening of the docuseries.


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             d.     Subsequently , at approximately 6 : 58 p . m. , a
cease and desist letter was emailed to NeueHouse from a person
purporting to be an attorney , demanding , in substance and in part ,
that NeueHouse not go forward with the Screening.

        RUSSELL asks CC - 1 if the Screening Is Going Fo rward

          12.   Based on my participation in the investigation ,
including my review of phone records , I have learned that shortly
after the cease and desist letter was conveyed as described abov e,
DONNELL RUSSELL , the defendant, and CC - 1 made efforts to determine
whether the Screening was going forward .       Specifically, I have
learned of the following communications on or about December 4 ,
2018, in substance and in part:

             a.     At   approximately   6:59  p . m., a                c ellphone
associated with a relative of CC- 1 called NeueHouse .

             b.     At  approximately         7 : 01   p . m. ,   the     Russell
Cellphone called NeueHouse .

              c.      From approximately 7 : 03 p . m. to 7 :05 p . m. , the
Russell Cellphone and CC - 1 Cellphone - 1 were in communication by
text and voice calls .      For example, at approximately 7:04 p . m.,
after the cease and desist letter had been sent as described above,
the   Russell   Cellphone     texted  CC-1    Cellphone - 1 ,  "Are     they
continuing with the screening."       CC - 1 replied , "Yes."    As noted
above , at the time , CC - 1 was in New York .

     RUSSELL Calls the NYPD and the New York Fire Department
         Seemingly In an Effort to Disrupt the Screening

          13 .  Based on my participation in the investigation,
including my review of phone records , historical cell site
information , and public records , I have learned that following the
efforts to disrupt the Screening by sending a cease and desist
letter as described above , DONNELL RUSSELL , the defendant, made a
series of phone calls to law enforcement located near NeueHouse .
In particular , I have learned of the following communications that
occurred on or about December 4 , 2018 :

             a.       At approximately 7 : 12 p . m., the IndyBuild Corp
Cellphone called a number for the NYPD Midtown South Precinct .        I
have learned that the NYPD Midtown South Precinct is located
approximately 1 . 4 miles away from NeueHouse .

               b.     At  approximately   7 : 14 p . m., the Russell
Cellphone c alled a number for the NYPD Transit District 4 Precinct .

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I have learned that the NYPD Transit District 4 Precinct is
approximately 0 . 6 miles away from NeueHouse . I have also learned
that before making that call , RUSSELL attempted to block his number
by dialing " *67 ." Based on my training and experience in analyzing
phone records and my review of publicly available websites , I know
that dialing *67 before making a call blocks the recipient o f the
call from seeing the number that made the call on the recipient ' s
caller identification device .     Historical cell site information
for the Russell Cellphone shows that the Russell Cellphone was at
or near Russell ' s residence in Chicago on the evening of December
4 , 2018 , and therefore Russell was not in New York or in a location
where the NYPD could be of assistance.

             c.       At approximately 7 : 23 p . m. , the IndyBuild Corp
Cellphone called a number for the Fire Bell Club of New York (the
" Fire Bell Club of New York Number"), which is an organization
associated with the New York City Fire Department and is located
approximately 0 . 3 miles from NeueHouse .

             d.     At approximately 7 : 25 p.m ., the IndyBuild Corp
Cellphone called a number for the New York City Fire Department
Headquarters (the "FDNY Headquarters Number" ) .

             e.     At approximately 7 : 27 p . m., the IndyBuild Corp
Cellphone called the Fire Bell Club of New York Number .

              f.      At approximately 7 : 27 p . m., the IndyBuild Corp
Cellphone called 311 .    Based on my review of publicly available
sources , including the New York City website that lists the FDNY
Headquarters Number , I have learned that the 311 is the general
number    for  non- emergency services .       Historical    cell   site
information for the IndyBuild Corp Cellphone shows , in substance ,
that phone was also located at and around RUSSELL ' s residence in
Chicago at or around the time the calls detailed above were placed .

 The Threat Call Is Made to NeueHouse from the Russell Landline

              14 . Based on my review of text messages between CC-1
and DONNELL RUSSELL , the defendant, obtained by law enforcement ,
I have learned that on or about December 4 , 2 018 at approximately
7 : 36 p . m., RUSSELL , using the Russell Cellphone , texted CC- 1 , in
substance , " The cops maybe [sic] arriving shortly ."

           15 . Based on publicly available sources , interviews
with , among others , an employee of NeueHouse, and my review of
documents obtained from NeueHouse , I have learned the following ,
in substance and in part :


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              a.      At    approximately  7 : 37 p.m .,   Employee - 1
received a phone call at NeueHouse from the Russell Landline . On
that call , an individual said , in substance and part , that someone
at the Screening had a gun and was going to shoot up the place . 3
By the time of the Threat Call , guests had already arrived for the
Screening .    Employee - 1 relayed the threat to security guards
working the event , as well as a manager for NeueHouse , and a 911
dispatcher.    Ultimately , the Screening was canceled and guests
were evacuated from the scene. No shooting ever occurred .

              b.       Based     on      my      participation    in   this
investigation , including my review of phone records , I have
learned , in substance and in part , that on December 4 , 2018 , at
approximately 7 : 37 p . m. and 7 : 38 p . m. , the Russell Landline placed
two phone calls to NeueHouse .              The first phone call lasted
approximately 23 seconds and the sec o nd call lasted approximately
20 seconds .  Based on an interview of Employee - 1 , I believe that
one of these calls was the Threat Call described above .                 As
discussed above , historical cell site information for the Russell
Cellphone places the Russell Cellphone at or near RUSSELL ' S
residence and therefore the Russell Landline . 4

                Communications after the Threat Call

           16 . Based on my review of text messages between CC - 1
and DONNELL RUSSELL , the defendant , obtained by law enforcement,
and my review of search warrant returns, I have learned that on or
about December 4, 2018 at approximately 8 : 05 p . m., RUSSELL , using
the Russell Cellphone , texted CC - 1 , in substance , " Delete those
messages about 50 ." Based on my training and experience , and my
participation in this investigation , I believe that "50" is a

3 Employee - 1 indicated that the voice of the person calling in the
phone threat sounded different than the voice of the person who
had previously called regarding the c ease and desist letter .
Employee -1 also indicated that he heard a click as if the person
was calling from a landline, although he believed the caller who
made the Threat Call may have been outside at the time of the call .
4 Based on my training and experience , I know that cell site data ,
also known as " tower/face " or "t ower/sector " information , reflects
the cell tower and sector thereof utilized in routing any
communication to and from the cellphone , as well as the approximate
range of the cellphone from the tower during the communication .
Because cell towers are often a half- mile or more apart , even in
urban areas , and can be ten or more miles apart in rural areas ,
cell site data can provide general location information but is not
as precise as precision location information .
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reference to the police and that when RUSSELL wrote , "Delete those
messages about 50 ," he was referring to the prior text message
that RUSSELL had sent CC - 1 , which stated that the "cops maybe [sic]
arriving shortly . " Based on my review of search warrant returns
for the Russell Cellphone , I believe that in addition to the
direction to CC- 1 described above , RUSSELL deleted these text
messages from his own phone prior to the time law enforcement
seized the Russell Cellphone in July 2019 .

           17 . Based on my participation in the investigation ,
including my review of phone records and public records , I have
learned of the following communications on or about December 4 ,
2018 , in substance and in part :

             a.       The Russell Cellphone placed a phone call that
lasted approximately six minutes to a cellphone used by R . Kelly
at approximately 8 : 53 p . m.

               b .     At     approximately       10 : 26     p . m., the   CC- 1
Cellphone - 1 texted the     Russell Cellphone , " 911                Call NOW ."
At approximately 10 : 34    p . m., the IndyBuild Corp Cellphone called
CC- 1 Cellphone - 2 . The   call lasted approximately 23 minutes . CC -
1 Cellphone - 2 and the      IndyBuild Corp Cellphone exchanged phone
calls at approximately      11 : 20 p . m. and 11 : 48 p . m.

             18 . Based on my review of search warrant returns for
the Russell Cellphone , public documents , and law enforcement
databases , I have learned that the Russell Cellphone has a contact
for RUSSELL ' s mother .    I have also learned that on or about
December 4 , 2018 , at approximately 11 : 20 p . m., RUSSELL ' s mother
texted the Russell Cellphone , in substance : "Be humble when (if )
you talk to Rob because you made another move without checking
with him first . Even though , it was for his benefit , he might not
approve of your actions !!!" I have also learned that , on or about
December 5 , 2018 , RUSSELL ' s mother texted the Russell Cellphone,
in substance : " My calls were to tell not to mention the woman ' s
name that is assisting you . Remember , someone in Rob ' s circle may
be a mole , so give her an alias ! ! !" Based on my participation in
the investigation , I believe that RUSSELL ' s mother was referring
to R . Ke l ly when directing RUSSELL to " [b]e humble when (if) you
talk to Rob ," and referring to CC - 1 and the threat scheme described
herein when d i rect i ng RUSSELL to conceal the name of the
" woman .     . assisting you . "




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 RUSSELL and CC - 1 Draft a Statement Regarding the Threat Call on
                   December 6 and December 7 , 2018

           19 . Based on my participation in this investigation ,
including my review of search warrant returns for the Russell
Cellphone , I have learned the following , among other things :

               a.    On or about December 6 , 2018 , CC - 1 texted the
Russell Cellphone , in substance and in part : "You ' re going to love
this plan . . . And this statement I just wrote ." CC - 1 subsequently
texted a statement to the Russell Cellphone , which stated , in
substance and in part :

           "The incident which took place at the recent
           Lifetime screening was most unfortunate , and
           we empathize with anyone who was affected by
           it . However , Mr . Kelly is once again being
           targeted and accused of acts beyond his
           control . For months , we have watched as his
           name has been slandered , and women he once
           cared for deeply , as well as his family , have
           attempted to assassinate his character for
           their own financial gain .       As Mr . Kelly ' s
           team , we have urged him to speak up , but due
           to his selfless nature , good moral character
           and out of the love and respect he ' s had for
           his family and these women ; especially his ex -
           wife and mother of his children , he has not
           wanted to retaliate , but everyone has their
           limits . For the record , Mr . Kelly (The Artist)
           will NEVER be muted , and now , Robert S . Kelly
            (The Man) will no longer be silenced. The
           truth will be revealed . Times up! "

                b.     On December 7,     2018,   RUSSELL , using the
Russell Cellphone , texted CC - 1 , in substance and in part , that "He
wants to change the last sentence .        . He like everything else. "
Based on my partic i pation i n the investigation , I believe that
RUSSELL was referring to R . Kelly in this message .            RUSSELL
subsequently texted CC-1, in substance and in part , " Damn , I see
I got this one wrong ." CC- 1 responded , in substance and in part ,
" Someone who ' s passionate about genuinely helping could never be
the wrong , but I digress ." Based on my training and experience ,
and on my participation in this investigation , I believe that
RUSSELL was referring to the threat scheme described above when he
said , " Damn , I see I got this one wrong ."



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    RUSSELL Admits He Contacted NeueHouse on December 4 , 2018

          20 . On or about August 21 , 2019 , law enforcement agents
conducted a voluntary interview of DONNELL RUSSELL , the defendant .
After being advised of the identities of the interviewing agents
and the nature of the investigation , RUSSELL stated the following ,
in substance and in part :

                   a.     RUSSELL wanted to figure out how to stop
the docuseries from airing and sent a cease and desist letter to ,
among others , Lifetime and NeueHouse . RUSSELL sent the cease and
desist letter to NeueHouse using both his personal and business
email .

                  b.     CC- 1 was in New York on the day of the
Screening and RUSSELL was in contact with CC - 1 that day , but
RUSSELL denied making the Threat Call to NeueHouse .

          21 . Based on my participation in the investigation ,
including my review of search warrant returns for an iCloud account
belonging to DONNELL RUSSELL , the defendant , I have learned of a
recording of CC - 1 speaking about R. Kelly . I have learned that on
that recording , CC- 1 said , in substance and in part , " Don [Russell]
got identified as the person who called in the fucking gun threat
which was stupid as fuck and Rob didn ' t know shit about it .
they said the NYPD traced it back to him ."

     WHEREFORE , deponent respectfully requests that a warrant be
issued for the arrest of DONNELL RUSSELL , the defendant , and that
he be arrested and imprisoned , or bailed , as the case may be .



                                  KERRY  C.¥ LNAN
                                  Special Agent
                                  Federal Bureau of Investigation




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